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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


THEODORE J. GUARRIELLO JR.,    *
THEODORE GUARRIELLO JR. TRUST, *
U/A/DTD 6/18/2003, and         *
THEODORE GUARRIELLO JR.        *
TRUSTEE,                       *
                               *
            Plaintiffs,        *
                               *
      v.                       *                     Civil Action No. 14-cv-13351-IT
                               *
FAMILY ENDOWMENT PARTNERS, LP, *
FAMILY ENDOWMENT PARTNERS,     *
LLC, FEP FUND I, LP, and       *
LEE DANA WEISS,                *
                               *
            Defendants.        *


                                       MEMORANDUM

                                          June 13, 2016

TALWANI, D.J.

       Applicants-in-Intervention John P. Lauring, the Lauring Charitable Foundation, and the

Lauring Family Trust moved on May 26, 2016, for leave to intervene pursuant to Federal Rule of

Civil Procedure 24(a). The underlying action has been pending since August 14, 2014, and the

Applicants-in-Intervention have failed to show that the motion to intervene is timely.

       Accordingly, on June 9, 2016, the motion to intervene was DENIED in open court.

                                                            /s/ Indira Talwani
                                                            United States District Judge
